                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI
                                 ST. JOSEPH DIVISION



RightCHOICE Managed Care, Inc., et al.,

              Plaintiffs,                                 Civil Action No.
                                                       5:18-CV-06037-DGK
v.

Hospital Partners, Inc.; Hospital Laboratory
Partners, LLC; Empower H.I.S. LLC; RAJ
Enterprises of Central Florida, LLC d/b/a Pinnacle
Laboratory Services; Labmed Services, LLC;
Serodynamics, LLC; David Byrns; Jorge Perez;
James F. Porter, Jr.; Beau Gertz; and Mark Blake,

              Defendants.




PLAINTIFFS’ RESPONSE TO THE SERO DEFENDANTS’ BRIEF REGARDING
                      DISCOVERY DISPUTE




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                                       INTRODUCTION
       The Sero Defendants seek to depose Plaintiffs regarding their relationships with hundreds

of hospitals and laboratories that were not involved in the Putnam pass-through-billing scheme,

and other similarly irrelevant topics. Although the Putnam scheme began in 2016, the Sero

Defendants demand that Plaintiffs be deposed about their relationships with these hospitals and

laboratories over the past 12 years, including a decade before the Putnam scheme began. (Dkt.

292 at 4-5). In defense of the disputed topics, the Sero Defendants cite to a handful of largely

contextual allegations in the Third Amended Complaint (Dkt. 57 (“TAC”)) and general

principles governing the scope of discovery, but do not explain why the disputed topics are

relevant. (Id.) Because the disputed topics are irrelevant to the parties’ claims and defenses,

Plaintiffs respectfully request that the Court strike topics 3-5, 12-13, 15, 19-21, 23, 42-43, and

46-47; and limit topic 16 to 2014-2018.

       Plaintiffs accommodated the Sero Defendants’ requests that Plaintiffs’ two primary

corporate representatives be deposed in Missouri. Plaintiffs’ remaining three corporate

representatives are located in Virginia, Illinois, and Ohio, respectively, and have been designated

on one or two discrete topics each. (Dkt. 293-1 ¶ 3.) Given how short their examinations will be,

Plaintiffs requested that the Sero Defendants depose the single and two-topic representatives

where they reside or via videoconference. (See Dkt. 293 at 7.) The Sero Defendants refused,

insisting that each appear in Missouri and that Plaintiffs’ five corporate representatives be made

available “over the course of no more than three days.” (Dkt. 292 at 6.) Plaintiffs respectfully

request that the Court order the single- and two-issue representatives be deposed in their

respective places of business or using remote means, and that the Court deny the Sero

Defendants’ legally unsupported demand that the Plaintiffs’ corporate representatives all be

deposed over no more than three days.


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                                           ARGUMENT

I.     The Sero Defendants fail to explain why the disputed topics are relevant to this case.

       The Sero Defendants do not explain the relevance of the disputed topics. In fact, they do

not explain the relevance of a single disputed topic. Instead, they argue that brief (and largely

contextual) allegations in the TAC open up discovery on Plaintiffs’ relationships over the past 12

years with hundreds of hospitals in five states, Plaintiffs’ contractual relationships with an

indeterminate number of clinical laboratories (also over 12 years), and other topics like

Plaintiffs’ lobbying efforts and communications to network providers requiring them not to

disclose rates to members (again, over the past 12 years). (See Dkt. 292 at 4-5.) This case relates

to laboratory tests performed by Serodynamics and other laboratories that were billed to

Plaintiffs from 2016-2018 as if the laboratory tests were performed at and by Putnam. (See Dkt.

57.) The disputed topics have no bearing on the parties’ claims or defenses, and the Sero

Defendants’ Opening Brief is telling in its inability to explain their relevance. 1

       The Sero Defendants state that they “provided Putnam with valuable clinical blood

reference laboratory and marketing consultation services” and that their work “carried with it the

functional ability to assist and enhance the financial stability of Putnam and to protect the

longevity of rural, critical access hospitals, such as Putnam.” (See Dkt. 292 at 4-5.) Although

Plaintiffs disagree, it does not matter—the Sero Defendants’ argument is not a defense. Whether




1
  The Sero Defendants’ refusal to restrict even the temporal scope of the disputed topics is
representative of their approach throughout discovery. Rather than agree to a reasonable date
restriction, they insist that 12 years of information on the disputed topics is necessary, in spite of
the fact that their sole justification for that timeframe is, apparently, that the TAC alleges that
“billings jumped exponentially after the purported ‘scheme’ at Putnam was put in place as
compared to Putnam’s historical, pre-‘scheme’ billings.” (See Dkt. 292 at 4.)




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the Sero Defendants provided valuable services to Putnam has no bearing on whether the claims

they caused to be submitted contained fraudulent or negligent misrepresentations, whether the

Sero Defendants tortiously interfered with Plaintiffs’ contract with Putnam, or whether the Sero

Defendants violated the impacted ERISA plans. And even if the topics had some relevance to the

parties’ claims or defenses (which they do not), their nominal probative value is completely

overwhelmed by the burden they would impose on Plaintiffs, particularly where the parties

would then be forced to litigate the similarity (or lack thereof) of Plaintiffs’ relationships with

each of the other hospitals and laboratories about which the Sero Defendants inquire.

        The Sero Defendants provide no explanation for why the disputed topics are relevant to

the parties’ claims or defenses. Therefore, Plaintiffs respectfully request that the Court strike

topics 3-5, 12-13, 15, 19-21, 23, 42-43, and 46-47, and limit topic 16 to 2014-2018.

II.     Plaintiffs’ single- and two-issue representatives should be deposed where they work
        or, in the alternative, by videoconference.

        At the Sero Defendants’ request, Plaintiffs agreed to make their two primary corporate

representatives available in Missouri. 2 (Dkt. 293-1 ¶ 3.) These two representatives will cover all

but four of the undisputed topics. The remaining four undisputed topics will be addressed by

three representatives located in Illinois, Ohio, Virginia, and Illinois, respectively. (Id.) Plaintiffs

requested that the Sero Defendants depose these three representatives where they reside or via

videoconference, because the topics are likely to be brief and to avoid imposing multiple days of

travel on each person. (See Dkt. 293 at 7.) The Sero Defendants insist that they appear in

Missouri, and that all five of Plaintiffs’ representatives appear over three days. 3 (Dkt. 292 at 5-6.)



2
 The primary corporate representatives reside in Kentucky and Missouri, respectively.
3
 The Sero Defendants cite no case law in support of their argument that all of Plaintiffs’
corporate representatives must appear over the course of three days. (See Dkt. 292 at 6.)



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       The Sero Defendants’ argue that, because the representatives are appearing on behalf of

Plaintiff RightCHOICE Managed Care, Inc., which is headquartered in Missouri, they must

appear in Missouri. (See Dkt. 292 at 5-6.) But the corporate representatives are appearing on

behalf of 19 Plaintiffs, only two of which are headquartered in Missouri. (See Dkt. 57 ¶¶ 26-44.)

The 19 Plaintiffs have their headquarters across the country, including in Ohio and Virginia,

where two of the representatives reside. (See id. ¶¶ 40-41.)

       Critically, courts across the country have recognized that videoconference is a suitable

alternative to in-person depositions, especially when the topics are limited and likely to be brief.

See United States v. One Gulfstream G-V Jet Displaying Tail No. VPCES, 304 F.R.D. 10, 17-18

(D.D.C. 2014) (collecting authorities and noting that “[a]mple case law recognizes that a

videoconference deposition can be an adequate substitute . . . particularly when significant

expenses are at issue or when the deposition will cover a limited set of topics”); see Kaseberg v.

Conaco, LLC, No. 15-cv-01637-JLS (DHB), 2016 U.S. Dist. LEXIS 111767, at *16 (S.D. Cal.

Aug. 19, 2016) (“The Court finds Plaintiffs’ desire to save expenses on what is anticipated to be

a short deposition is a legitimate reason to order a remote deposition.”); Gee v. Suntrust Mortg.,

Inc., No. 10-cv-01509 RS (NC), 2011 U.S. Dist. LEXIS 131935, at *4-8 (N.D. Cal. Nov. 15,

2011) (denying motion to compel plaintiffs’ deposition in forum state because parties “routinely

conduct depositions via videoconference, and . . . doing so minimizes travel costs and permits

the jury to make credibility evaluations”).

                                         CONCLUSION
       Plaintiffs respectfully request that the Court strike topics 3-5, 12-13, 15, 19-21, 23, 42-43,

and 46-47 and limit topic 16 to calendar years 2014-2018. Plaintiffs further respectfully request

that the Court order the single- and two-issue representatives’ depositions be taken in their

respective places of business or, in the alterative, be conducted by videoconference.


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Dated: August 27, 2019              By:             /s/ Michael L. Jente

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                               CERTIFICATE OF SERVICE
       I hereby certify that the foregoing was filed electronically with the United States District

Court for the Western District of Missouri, through the Court’s CM/ECF system, on the 27th day

of August 2019, with notice of case activity sent to counsel of record.

                                                       /s/ Michael L. Jente




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